(ase 3:17-cv-12300-BRM-TJB Document 67-3 Filed 09/13/18

McMORAN, O'CONNOR BRAMLEY & BURNS, PC
Ramshorn Executive Centre

2399 Highway 34

Bldg. D Suite D-1

Manasquan, New Jersey 08736

(732) 223-7711

Attorneys for Defendants,

Michael Fitzgerald and Teri O'Connor

FREEHOLDERS; SERENA DIMASO, in

capacity as Monmouth County
Chosen Freeholder; THOMAS
ARNONE, in his individual and
official capacity as Monmouth
County Chosen Freeholder; GARY
RICH, in his individual and
official capacity as Monmouth
County Chosen Freeholder;
LILLIAN BURY, in her individual
and official capacity as
Monmouth County Chosen
Freeholder; MICHAEL FITZGERALD,
ESQ., in his individual and
official capacity as County
Counsel; and TERI O’CONNOR, in
her individual and official
capacity as County
Administrator,

Defendants.

 

 

 

 

THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

JOHN CURLEY, Civil Action No. 3:17-12300-BRM-
TIB
Plaintiff,
vs.
MONMOUTH COUNTY BOARD OF CHOSEN Civil Action

her individual and official ORDER

UPON CONSIDERATION of defendants Michael Fitzgerald, Esq.

and Teri O’Connor’s motion to dismiss the Second Amended and

Page 1 of 2 PagelD: 14

190

 
 

tase 3:17-cv-12300-BRM-TJB Document 67-3 Filed 09/13/18 Page 2 of 2 PagelD: 1491

Supplemental Verified Complaint for failure to state a claim on
which relief can be granted pursuant to Rule 12{b)(6) of the
Federal Rules of Civil Procedure, the Brief in support and the
Certification of Michael F. O’Connor, Esq. and plaintiff John
Curley’s opposition thereto, and it appearing to the Court that
the motion should be granted, it is therefore on this _ day of

2018:
ORDERED that the motion be and hereby is GRANTED; and it is

FURTHER ORDERED that judgment is hereby entered dismissing
the counts in the amended complaint against defendants

Fitzgerald and O'Connor in their entirety with prejudice.

 

Honorable Brian R. Martinotti
United States District Judge

 

 
